Case 22-19361-MBK             Doc 181       Filed 01/03/23 Entered 01/03/23 19:47:45                        Desc Main
                                          Document      Page 1 of 13



                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

 In re:                                                        Chapter 11

 BlockFi Inc., et al.,                                         Case No. 22-19361 (MBK)

                            Debtors.1                          (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

        I, Ishrat Khan, depose and say that I am employed by Kroll Restructuring Administration
 LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
 cases.

        On December 23, 2022, at my direction and under my supervision, employees of Kroll
 caused the following document to be served by the method set forth on the Master Service List
 attached hereto as Exhibit A:

     •    Application of the Debtors and Debtors in Possession for Entry of an Order Authorizing
          the Retention and Employment of Moelis & Company LLC as Investment Banker,
          Capital Markets Advisor, and Financial Advisor Effective as of the Petition Date
          [Docket No. 139]

         In addition to the methods of service set forth herein, parties who have requested
 electronic notification of filings via the Bankruptcy Court's CM/ECF system were sent the above
 referenced document via electronic service.



                                 [Remainder of page intentionally left blank]




 1 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification number, as

 applicable, are as follows: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi
 Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
 LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
 address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
Case 22-19361-MBK       Doc 181     Filed 01/03/23 Entered 01/03/23 19:47:45        Desc Main
                                  Document      Page 2 of 13



 Dated: December 30, 2022
                                                          /s/ Ishrat Khan
                                                          Ishrat Khan
 State of New York
 County of New York

 Subscribed and sworn (or affirmed) to me on December 30, 2022, by Ishrat Khan, proved to me
 on the bases of satisfactory evidence to be the person who executed this affidavit.

 /s/ HERBERT BAER
 Notary Public, State of New York
 No BA6205563
 Qualified in Westchester County
 Commission Expires May 11, 2025




                                           2                                     SRF 66281
Case 22-19361-MBK   Doc 181     Filed 01/03/23 Entered 01/03/23 19:47:45   Desc Main
                              Document      Page 3 of 13



                                      Exhibit A
                                      Case 22-19361-MBK            Doc 181       Filed 01/03/23 Entered 01/03/23 19:47:45                              Desc Main
                                                                               Document      Page 4 of 13
                                                                                             Exhibit A
                                                                                          Master Service List
                                                                                       Served as set forth below

             DESCRIPTION                                    NAME                                            ADDRESS                                     EMAIL       METHOD OF SERVICE
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
                                                                                       Attn: James J. McGinley
                                         Ankura Trust Company, LLC, as Trustee for the 140 Sherman Street, 4th Floor
Indenture Trustee, Top 50 Creditors      Indenture Dated as of February 28, 2022       Fairfield CT 06824                              james.mcginley@ankura.com   Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
                                                                                       Attn: Carrie J. Boyle, Esq.
                                                                                       1940 Route 70 East
                                                                                       Suite 4
Counsel to Ge Song                       Boyle & Valenti Law, P.C.                     Cherry Hill NJ 08003                            cboyle@b-vlaw.com           Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
                                                                                       Attn: Felice R. Yudkin, Rebecca W. Hollander,
                                                                                       Michael D. Sirota                               FYudkin@coleschotz.com
                                                                                       25 Main Street                                  RHollander@coleschotz.com
Counsel to the Debtors                   Cole Schotz P.C.                              Hackensack NJ 7601                              Msirota@coleschotz.com      Email
                                                                                       Attn: Bankruptcy Department
                                                                                       Apartado 9020192
State Attorney General                   Commonwealth of Puerto Rico                   San Juan PR 00902-0192                                                      First Class Mail
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
                                                                                       Attn: Bankruptcy Division
Environmental Protection Agency -                                                      290 Broadway
Region 2                                 Environmental Protection Agency               New York NY 10007-1866                                                      First Class Mail
                                                                                       Attn: General Counsel
                                                                                       Office Of General Counsel 2310A
                                                                                       1200 Pennsylvania Ave NW, 2310A
Environmental Protection Agency          Environmental Protection Agency               Washington DC 20460                                                         First Class Mail
Top 50 Creditors                         Name on File                                                                                  Email on File               Email
                                                                                       124 Brewsteer Street
George S. Wynns                          George S. Wynns, Creditor Pro Se              San Francisco CA 94110                          georgewynns@gmail.com       Email




        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                              Page 1 of 10
                                       Case 22-19361-MBK             Doc 181     Filed 01/03/23 Entered 01/03/23 19:47:45                        Desc Main
                                                                               Document      Page 5 of 13
                                                                                          Exhibit A
                                                                                      Master Service List
                                                                                   Served as set forth below

              DESCRIPTION                                    NAME                                      ADDRESS                                    EMAIL             METHOD OF SERVICE
                                                                                    Attn: Carol L. Knowlton, Esquire
                                                                                    311 Whitehorse Avenue
                                                                                    Suite A
Counsel to George J. Gerro                Gorski & Knowlton Pc                      Hamilton NJ 08610                            cknowlton@gorskiknowlton.com       Email
Top 50 Creditors                          Name on File                                                                           Email on File                      Email
Top 50 Creditors                          Name on File                              Address on File                                                                 First Class Mail
                                                                                    Attn: J. Frasher Murphy, Jordan E. Chavez
                                                                                    2323 Victory Ave
                                                                                    Suite 700                                    frasher.murphy@haynesboone.com
Co-Counsel to Debtors                     Haynes and Boone, LLP                     Dallas TX 75219                              jordan.chavez@haynesboone.com      Email
                                                                                    Attn: Kenric D. Kattner, Kourtney P. Lyda,
                                                                                    Re’Necia Sherald
                                                                                    1221 Mckinney Street                         kenric.kattner@haynesboone.com
                                                                                    Suite 4000                                   kourtney.lyda@haynesboone.com
Co-Counsel to Debtors                     Haynes and Boone, LLP                     Houston TX 77010                             renecia.sherald@haynesboone.com    Email
                                                                                    Attn: Richard S. Kanowitz
                                                                                    30 Rockefeller Plaza
                                                                                    26th Floor
Co-Counsel to Debtors                     Haynes and Boone, LLP                     New York NY 10112                            richard.kanowitz@haynesboone.com   Email
Top 50 Creditors                          Name on File                                                                           Email on File                      Email
                                                                                    Attn: Robert A. Ripin
Counsel to Ankura Trust Company, LLC as                                             390 Madison Ave
Indenture Trustee                       Hogan Lovells US LLP                        New York NY 10017                            robert.ripin@hoganlovells.com      Email
                                                                                    Attn: Barbra R. Parlin
                                                                                    31 West 52Nd Street
Counsel to Silvergate Bank                Holland & Knight LLP                      New York NY 10019                            barbra.parlin@hklaw.com            Email
Top 50 Creditors                          Name on File                                                                           Email on File                      Email
                                                                                    Centralized Insolvency Operation
                                                                                    2970 Market Street
                                                                                    Mail Stop 5 Q30 133
Internal Revenue Service                  Internal Revenue Service                  Philadelphia PA 19104-5016                                                      First Class Mail
                                                                                    Centralized Insolvency Operation
                                                                                    P.O. Box 7346
Internal Revenue Service                  Internal Revenue Service                  Philadelphia PA 19101-7346                                                      First Class Mail
Top 50 Creditors                          Name on File                                                                           Email on File                      Email
Top 50 Creditors                          Name on File                                                                           Email on File                      Email
Top 50 Creditors                          Name on File                                                                           Email on File                      Email
Top 50 Creditors                          Name on File                                                                           Email on File                      Email



         In re: BlockFi Inc., et al.
         Case No. 22-19361 (MBK)                                                          Page 2 of 10
                                      Case 22-19361-MBK           Doc 181       Filed 01/03/23 Entered 01/03/23 19:47:45                      Desc Main
                                                                              Document      Page 6 of 13
                                                                                           Exhibit A
                                                                                        Master Service List
                                                                                     Served as set forth below

             DESCRIPTION                                   NAME                                          ADDRESS                                       EMAIL            METHOD OF SERVICE
                                                                                     Attn: Alexander D. Mccamon
                                                                                     300 North Lasalle
Counsel to the Debtors                   Kirkland & Ellis LLP                        Chicago IL 60654                                 alexander.mccammon@kirkland.com   Email
                                                                                     Attn: Christine A. Okike, Francis Petrie, Joshua
                                                                                     Sussberg                                         christine.okike@kirkland.com
                                                                                     601 Lexington Avenue                             francis.petrie@kirkland.com
Counsel to the Debtors                   Kirkland & Ellis LLP                        New York NY 10022                                jsussberg@kirkland.com            Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
                                                                                     Attn: Gaston P. Loomis
                                                                                     300 Delaware Ave
Counsel to New Jersey Bureau of                                                      Suite 1014
Securities                               Mcelroy, Deutsch, Mulvaney & Carpenter, LLP Wilmington DE 19801                              gloomis@mdmc-law.com              Email
                                                                                     Attn: Jeffrey Bernstein
Counsel to New Jersey Bureau of                                                      570 Broad Street
Securities                               Mcelroy, Deutsch, Mulvaney & Carpenter, LLP Newark NJ 07102                                  jbernstein@mdmc-law.com           Email
                                                                                     Attn: Nicole Leonard
                                                                                     225 Liberty Street
Counsel to New Jersey Bureau of                                                      36th Floor
Securities                               Mcelroy, Deutsch, Mulvaney & Carpenter, LLP New York NY 10281                                nleonard@mdmc-law.com             Email
                                                                                     Attn: Virginia T. Shea
                                                                                     1300 Mt. Kemble Avenue
Counsel to New Jersey Bureau of                                                      PO Box 2075
Securities                               Mcelroy, Deutsch, Mulvaney & Carpenter, LLP Morristown NJ 07962-2075                         vshea@mdmc-law.com                Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
Top 50 Creditors                         Name on File                                                                                 Email on File                     Email
                                                                                     Attn: John C. Goodchild, III, Matthew C.
                                                                                     Ziegler
Counsel to Emergent Fidelity                                                         1701 Market Street                               john.goodchild@morganlewis.com
Technologies Ltd                         Morgan, Lewis & Bockius LLP                 Philadelphia PA 19103                            matthew.ziegler@morganlewis.com   Email
                                                                                     Attn: Joshua Dorchak, David K. Shim
Counsel to Emergent Fidelity                                                         101 Park Avenue                                  joshua.dorchak@morganlewis.com
Technologies Ltd                         Morgan, Lewis & Bockius LLP                 New York NY 10178                                david.shim@morganlewis.com        Email


        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                            Page 3 of 10
                                       Case 22-19361-MBK             Doc 181      Filed 01/03/23 Entered 01/03/23 19:47:45                         Desc Main
                                                                                Document      Page 7 of 13
                                                                                              Exhibit A
                                                                                           Master Service List
                                                                                        Served as set forth below

              DESCRIPTION                                     NAME                                        ADDRESS                                   EMAIL               METHOD OF SERVICE
                                                                                        Attn: Karen Cordry
National Association of Attorneys                                                       1850 M St., NW 12th Floor
General                                   National Association of Attorneys General     Washington DC 20036                        kcordry@naag.org                     Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
                                                                                        Attn: Jason B. Binford and Roma N. Desai
                                                                                        Bankruptcy & Collections Division          jason.binford@oag.texas.gov
                                                                                        P. O. Box 12548                            roma.desai@oag.texas.gov
Counsel to the State of Texas             Office of The Attorney General of Texas       Austin TX 78711-2548                       public.information@oag.state.tx.us   Email
                                                                                        Attn: Bankruptcy Division
                                                                                        P.O. Box 20207                             consumer.affairs@tn.gov
Tn Dept of Commerce and Insurance         Office of The Tennessee Attorney General      Nashville TN 37202-0207                    gina.hantel@ag.tn.gov                First Class Mail
                                                                                        Attn: Lauren Bielskie, Esq., Jeffrey M.
                                                                                        Sponder, Esq
                                                                                        One Newark Center                          Lauren.Bielskie@usdoj.gov
U.S. Trustee for the District of New                                                    1085 Raymond Boulevard, Suite 2100         jeffrey.m.sponder@usdoj.gov
Jersey                                    Office of the United States Trustee           Newark NJ 07102                            USTPRegion03.NE.ECF@usdoj.gov        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
                                                                                        Attn: Bankruptcy Department
                                                                                        Strawberry Square
                                                                                        16th Floor
State Attorney General                    Pennsylvania Office of The Attorney General   Harrisburg PA 17120                                                             First Class Mail
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
Top 50 Creditors                          Name on File                                                                             Email on File                        Email
                                                                                       Attn: Hane Kim
                                                                                       Brookfield Place
                                                                                       200 Vesey Street, Suite 400
Top 50 Creditors                          Securities & Exchange Commission             New York NY 10281-1022                      kimha@SEC.GOV                        Email
                                                                                       Attn: Bankruptcy Dept
                                                                                       Brookfield Place
Securities and Exchange Commission -                                                   200 Vesey Street, Ste 400                   bankruptcynoticeschr@sec.gov
Regional Office                           Securities & Exchange Commission - NY Office New York NY 10281-1022                      nyrobankruptcy@sec.gov               Email




         In re: BlockFi Inc., et al.
         Case No. 22-19361 (MBK)                                                              Page 4 of 10
                                       Case 22-19361-MBK             Doc 181        Filed 01/03/23 Entered 01/03/23 19:47:45                 Desc Main
                                                                                  Document      Page 8 of 13
                                                                                             Exhibit A
                                                                                         Master Service List
                                                                                      Served as set forth below

              DESCRIPTION                                     NAME                                        ADDRESS                               EMAIL          METHOD OF SERVICE
                                                                                       Attn: Bankruptcy Dept
                                                                                       One Penn Center
Securities and Exchange Commission -      Securities & Exchange Commission -           1617 JFK Blvd, Ste 520
Regional Office                           Philadelphia Office                          Philadelphia PA 19103                    secbankruptcy@sec.gov          Email
                                                                                       Secretary of the Treasury
Securities and Exchange Commission -                                                   100 F. Street NE
Headquarters                              Securities and Exchange Commission           Washington DC 20549                      secbankruptcy@sec.gov          Email
                                                                                       Attn: Eleanor M. Roman, Donald H. Cram
                                                                                       595 Market Street
                                                                                       Suite 2600                               emr@severson.com
Counsel to Scratch Services LLC           Severson & Werson                            San Francisco CA 94105                   dhc@severson.com               Email
Top 50 Creditors                          Name on File                                                                          Email on File                  Email
                                                                                       Attn: Bankruptcy Department
                                                                                       P.O. Box 300152
State Attorney General                    State of Alabama Attorney General            Montgomery AL 36130-0152                                                First Class Mail
                                                                                       Attn: Bankruptcy Department
                                                                                       P.O. Box 110300
State Attorney General                    State of Alaska Attorney General             Juneau AK 99811-0300                     attorney.general@alaska.gov    Email
                                                                                       Attn: Bankruptcy Department
                                                                                       2005 N Central Ave
State Attorney General                    State of Arizona Attorney General            Phoenix AZ 85004-2926                    aginfo@azag.gov                Email
                                                                                       Attn: Bankruptcy Department
                                                                                       323 Center St.
                                                                                       Suite 200
State Attorney General                    State of Arkansas Attorney General           Little Rock AR 72201-2610                                               First Class Mail
                                                                                       Attn: Bankruptcy Department
                                                                                       P.O. Box 944255
State Attorney General                    State of California Attorney General         Sacramento CA 94244-2550                 bankruptcy@coag.gov            Email
                                                                                       Attn: Bankruptcy Department
                                                                                       Ralph L. Carr Colorado Judicial Center
                                                                                       1300 Broadway, 10th Floor
State Attorney General                    State of Colorado Attorney General           Denver CO 80203                                                         First Class Mail
                                                                                       Attn: Bankruptcy Department
                                                                                       165 Capitol Avenue                       attorney.general@ct.gov
State Attorney General                    State of Connecticut Attorney General        Hartford CT 06106                        denise.mondell@ct.gov          Email
                                                                                       Attn: Bankruptcy Department
                                                                                       Carvel State Office Bldg.
                                                                                       820 N. French St.
State Attorney General                    State of Delaware Attorney General           Wilmington DE 19801                      attorney.general@state.de.us   Email


         In re: BlockFi Inc., et al.
         Case No. 22-19361 (MBK)                                                            Page 5 of 10
                                      Case 22-19361-MBK              Doc 181     Filed 01/03/23 Entered 01/03/23 19:47:45        Desc Main
                                                                               Document      Page 9 of 13
                                                                                         Exhibit A
                                                                                      Master Service List
                                                                                   Served as set forth below

             DESCRIPTION                                     NAME                                      ADDRESS                     EMAIL           METHOD OF SERVICE
                                                                                    Attn: Bankruptcy Department
                                                                                    The Capitol, Pl 01
State Attorney General                   State of Florida Attorney General          Tallahassee FL 32399-1050                                      First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    40 Capital Square, SW
State Attorney General                   State of Georgia Attorney General          Atlanta GA 30334-1300                                          First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    425 Queen St.
State Attorney General                   State of Hawaii Attorney General           Honolulu HI 96813               hawaiiag@hawaii.gov            Email
                                                                                    Attn: Bankruptcy Department
                                                                                    700 W. Jefferson Street
                                                                                    P.O. Box 83720
State Attorney General                   State of Idaho Attorney General            Boise ID 83720-1000                                            First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    100 West Randolph Street
State Attorney General                   State of Illinois Attorney General         Chicago IL 60601                webmaster@atg.state.il.us      Email
                                                                                    Attn: Bankruptcy Department
                                                                                    1305 E. Walnut Street
State Attorney General                   State of Iowa Attorney General             Des Moines IA 50319             webteam@ag.iowa.gov            Email
                                                                                    Attn: Bankruptcy Department
                                                                                    120 SW 10th Ave., 2nd Floor
State Attorney General                   State of Kansas Attorney General           Topeka KS 66612-1597                                           First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    700 Capitol Avenue, Suite 118
State Attorney General                   State of Kentucky Attorney General         Frankfort KY 40601                                             First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    P.O. Box 94095
State Attorney General                   State of Louisiana Attorney General        Baton Rouge LA 70804-4095       consumerinfo@ag.state.la.us    Email
                                                                                    Attn: Bankruptcy Department
                                                                                    6 State House Station
State Attorney General                   State of Maine Attorney General            Augusta ME 04333                consumer.mediation@maine.gov   Email
                                                                                    Attn: Bankruptcy Department
                                                                                    200 St. Paul Place
State Attorney General                   State of Maryland Attorney General         Baltimore MD 21202-2202         oag@oag.state.md.us            Email
                                                                                    Attn: Bankruptcy Department
                                                                                    One Ashburton Place
State Attorney General                   State of Massachusetts Attorney General    Boston MA 02108-1698            ago@state.ma.us                Email




        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                          Page 6 of 10
                                      Case 22-19361-MBK             Doc 181 Filed 01/03/23 Entered 01/03/23 19:47:45                       Desc Main
                                                                           Document    Page 10 of 13
                                                                                         Exhibit A
                                                                                      Master Service List
                                                                                   Served as set forth below

             DESCRIPTION                                     NAME                                     ADDRESS                                 EMAIL                METHOD OF SERVICE
                                                                                   Attn: Bankruptcy Department
                                                                                   G. Mennen Williams Building, 7th Floor
                                                                                   525 W. Ottawa St., P.O. Box 30212
State Attorney General                   State of Michigan Attorney General        Lansing MI 48909-0212                      miag@michigan.gov                    Email
                                                                                   Attn: Bankruptcy Department
                                                                                   1400 Bremer Tower
                                                                                   445 Minnesota Street
State Attorney General                   State of Minnesota Attorney General       St. Paul MN 55101-2131                                                          First Class Mail
                                                                                   Attn: Bankruptcy Department
                                                                                   Walter Sillers Building
                                                                                   550 High Street, Suite 1200 P.O. Box 220
State Attorney General                   State of Mississippi Attorney General     Jackson MS 39201                                                                First Class Mail
                                                                                   Attn: Bankruptcy Department
                                                                                   Supreme Court Building
                                                                                   207 W. High St.
State Attorney General                   State of Missouri Attorney General        Jefferson City MO 65102                    attorney.general@ago.mo.gov          Email
                                                                                   Attn: Bankruptcy Department
                                                                                   215 N Sanders, Third Floor
                                                                                   P.O. Box 201401
State Attorney General                   State of Montana Attorney General         Helena MT 59620-1401                       contactdoj@mt.gov                    Email
                                                                                   Attn: Bankruptcy Department
                                                                                   2115 State Capitol
                                                                                   2nd Fl, Rm 2115
State Attorney General                   State of Nebraska Attorney General        Lincoln NE 68509-8920                      ago.info.help@nebraska.gov           Email
                                                                                   Attn: Bankruptcy Department
                                                                                   100 North Carson Street
State Attorney General                   State of Nevada Attorney General          Carson City NV 89701                       aginfo@ag.nv.gov                     Email
                                                                                   Attn: Bankruptcy Department
                                                                                   33 Capitol St.
State Attorney General                   State of New Hampshire Attorney General   Concord NH 03301                           attorneygeneral@doj.nh.gov           Email
                                                                                   Attn: Bankruptcy Department
                                                                                   Rj Hughes Justice Complex
                                                                                   25 Market Street P.O. Box 080
State Attorney General                   State of New Jersey Attorney General      Trenton NJ 08625-0080                      askconsumeraffairs@lps.state.nj.us   Email
                                                                                   Attn: Bankruptcy Department
                                                                                   P.O. Drawer 1508
State Attorney General                   State of New Mexico Attorney General      Santa Fe NM 87504-1508                                                          First Class Mail




        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                          Page 7 of 10
                                      Case 22-19361-MBK            Doc 181 Filed 01/03/23 Entered 01/03/23 19:47:45              Desc Main
                                                                          Document    Page 11 of 13
                                                                                          Exhibit A
                                                                                       Master Service List
                                                                                    Served as set forth below

             DESCRIPTION                                    NAME                                       ADDRESS                    EMAIL                 METHOD OF SERVICE
                                                                                    Attn: Bankruptcy Department
                                                                                    The Capitol
State Attorney General                   State of New York Attorney General         Albany NY 12224-0341                                                First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    9001 Mail Service Center
State Attorney General                   State of North Carolina Attorney General   Raleigh NC 27699-9001                                               First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    State Capitol
                                                                                    600 E Boulevard Ave Dept 125
State Attorney General                   State of North Dakota Attorney General     Bismarck ND 58505-0040         ndag@nd.gov                          Email
                                                                                    Attn: Bankruptcy Department
                                                                                    30 E. Broad St., 14th Floor
State Attorney General                   State of Ohio Attorney General             Columbus OH 43215                                                   First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    313 NE 21st Street
State Attorney General                   State of Oklahoma Attorney General         Oklahoma City OK 73105                                              First Class Mail


                                                                                                                   consumer.hotline@doj.state.or.us
                                                                                                                   kelsiecrippen@markowitzherbold.com
                                                                                    Attn: Bankruptcy Department    david.hart@doj.state.or.us
                                                                                    1162 Court Street NE           anitjindal@markowitzherbold.com
State Attorney General                   State of Oregon Attorney General           Salem OR 97301                 harrywilson@markowitzherbold.com     Email
                                                                                    Attn: Bankruptcy Department
                                                                                    150 South Main Street
State Attorney General                   State of Rhode Island Attorney General     Providence RI 02903                                                 First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    P.O. Box 11549
State Attorney General                   State of South Carolina Attorney General   Columbia SC 29211-1549                                              First Class Mail
                                                                                    Attn: Bankruptcy Department
                                                                                    1302 East Highway 14
                                                                                    Suite 1
State Attorney General                   State of South Dakota Attorney General     Pierre SD 57501-8501           consumerhelp@state.sd.us             Email
                                                                                    Attn: Bankruptcy Department
                                                                                    P.O. Box 142320
State Attorney General                   State of Utah Attorney General             Salt Lake City UT 84114-2320   uag@utah.gov                         Email
                                                                                    Attn: Bankruptcy Department
                                                                                    109 State St.
State Attorney General                   State of Vermont Attorney General          Montpelier VT 05609-1001       ago.bankruptcies@vermont.gov         Email


        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                           Page 8 of 10
                                      Case 22-19361-MBK              Doc 181 Filed 01/03/23 Entered 01/03/23 19:47:45                               Desc Main
                                                                            Document    Page 12 of 13
                                                                                             Exhibit A
                                                                                          Master Service List
                                                                                       Served as set forth below

             DESCRIPTION                                     NAME                                         ADDRESS                                    EMAIL      METHOD OF SERVICE
                                                                                       Attn: Bankruptcy Department
                                                                                       900 East Main Street
State Attorney General                   State of Virginia Attorney General            Richmond VA 23219                                                        First Class Mail
                                                                                       Attn: Bankruptcy Department
                                                                                       1125 Washington St. SE
                                                                                       P.O. Box 40100
State Attorney General                   State of Washington Attorney General          Olympia WA 98504-0100                                                    First Class Mail
                                                                                       Attn: Bankruptcy Department
                                                                                       State Capitol Bldg 1 Room E 26
State Attorney General                   State of West Virginia Attorney General       Charleston WV 25305                          consumer@wvago.gov          Email

                                                                                       Attn: Bankruptcy Department
                                                                                       Wisconsin Department Of Justice
                                                                                       State Capitol, Room 114 East P.O. Box 7857
State Attorney General                   State of Wisconsin Attorney General           Madison WI 53707-7857                                                    First Class Mail
                                                                                       Attn: Bankruptcy Department
                                                                                       123 Capitol Building
                                                                                       200 W. 24th Street
State Attorney General                   State of Wyoming Attorney General             Cheyenne WY 82002                                                        First Class Mail
Top 50 Creditors                         Name on File                                                                               Email on File               Email
Top 50 Creditors                         Name on File                                                                               Email on File               Email
Top 50 Creditors                         Name on File                                                                               Email on File               Email
                                                                                       Attn: Ruth A. Harvey, Margaret M. Newell,
                                                                                       Seth B. Shapiro
                                                                                       Ben Franklin Station
                                         U.S. Department of Justice – Civil Division   P.O. Box 875
Counsel to United States of America      Commercial Litigation Branch                  Washington DC 20044-0875                     seth.shapiro@usdoj.gov      Email
                                                                                       Attn: Seth B. Shapiro
                                                                                       1100 L Street, NW
                                                                                       7th Floor - Room 7114
Counsel to United States of America      U.S. Department of Justice Civil Division     Washington DC 20005                          seth.shapiro@usdoj.gov      Email
                                                                                       Attn: Bankruptcy Department
                                                                                       Us Dept Of Justice
                                                                                       950 Pennsylvania Ave NW
State Attorney General                   United States of America Attorney General     Washington DC 20530-0001                                                 First Class Mail
Top 50 Creditors                         Name on File                                                                               Email on File               Email
                                                                                       Attn: Bankruptcy Department
                                                                                       441 4th Street, NW
State Attorney General                   Washington DC Attorney General                Washington DC 20001                          oag@dc.gov                  Email


        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                              Page 9 of 10
                                      Case 22-19361-MBK            Doc 181 Filed 01/03/23 Entered 01/03/23 19:47:45            Desc Main
                                                                          Document    Page 13 of 13
                                                                                     Exhibit A
                                                                                  Master Service List
                                                                               Served as set forth below

             DESCRIPTION                                    NAME                                     ADDRESS                    EMAIL          METHOD OF SERVICE
Top 50 Creditors                         Name on File                                                          Email on File                  Email
                                                                               Attn: John J. Ray III
                                                                               3500 South Dupont Highway
Top 50 Creditors                         West Realm Shires Inc. (FTX US)       Dover DE 19901                  jray@greylockpartnersllc.com   Email
Top 50 Creditors                         Name on File                                                          Email on File                  Email




        In re: BlockFi Inc., et al.
        Case No. 22-19361 (MBK)                                                      Page 10 of 10
